    UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                           TENNESSEE

SAKE TN, LLC, and                  )
SEANACHE HOMES, INC., for          )
themselves and all others similarly)
situated,                          )
                                   )
       Plaintiffs,                 )
                                   )
v.                                 )   No. 3:21-cv-00108
                                   )
TREY CAIN, KALI CAIN, CAIN & )
ASSOCIATES, PLLC, TENNESSEE )          JURY DEMANDED
TITLE & ESCROW AFFILIATES, )
LLC, KNOX VALLEY PARTNERS, )
LLC, MORRIS FAMILY                 )
HOLDINGS, LLC, PATRICK MOSS, )
IRA INNOVATIONS, LLC, MARY )
M. WESTER, individually and as     )
Trustee of the Mary M. Wester      )
Revocable Trust, MIKE TODD, and )
ALYCIA WHITE as Executrix          )
of the estate of William J. Gulas, )
                                   )
       Defendants.                 )
________________________________________________________________________

                    SECOND AMENDED COMPLAINT
_______________________________________________________________________

      The Plaintiffs, Seanache Homes, Inc., and Sake TN, LLC, by and through counsel,

and with written consent of the parties, hereby submit this Second Amended Complaint

against the Defendants as follows:




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                       I. PARTIES, JURISDICTION & VENUE

       1.     Plaintiff, Sake TN, LLC (“Sake”), is a Tennessee limited liability company.

Sake is the assignee of Seanache Homes, Inc., who assigned some of the claims herein to

Sake pursuant to an Assignment Agreement.

       2.     Plaintiff, Seanache Homes, Inc. (“Seanache”), is a Nevada corporation that

is authorized to conduct business in the State of Tennessee and has its principal office in

Williamson County, Tennessee.

       3.     Plaintiffs bring this action on behalf of themselves and on behalf of all

others similarly situated pursuant to Fed R. Civ. P. 23.

       4.     Defendant, Trey Cain, is a licensed Tennessee attorney whose principal

office is located in Williamson County, Tennessee.

       5.     Defendant, Kali Cain, is a citizen and resident of Williamson County,

Tennessee.

       6.     Defendant, Cain & Associates, PLLC (“Cain & Associates”) is a Tennessee

professional limited liability company, whose principal office is located in Williamson

County, Tennessee.

       7.     Defendant, Tennessee Title & Escrow Affiliates, LLC (“Tennessee Title”),

is a Tennessee limited liability company with its principal office located in Williamson

County, Tennessee.

       8.     Defendant, Knox Valley Partners, LLC (“Knox Valley”), is a Tennessee

limited liability company with its principal office located in Williamson County,

Tennessee.

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       9.     Defendant, Morris Family Holdings, LLC (“Morris Family Holdings”) is a

Wyoming close limited liability company that is authorized to conduct business in the

State of Tennessee, and whose principal office is located in Williamson County,

Tennessee

       10.    Defendant, IRA Innovations, LLC (“IRA Innovations”), is an Alabama

limited liability company that is authorized to conduct business in the State of Tennessee,

and whose principal office is located in Hoover, Alabama.

       11.    On information and belief, Defendant, Patrick Moss, is a citizen and

resident of Williamson County, Tennessee, and on information and belief, is the person

that owns Patrick Moss IRA, a self-directed Individual Retirement Account.

       12.    Defendant, Mary M. Wester, is a citizen and resident of Davidson County,

Tennessee.

       13.    Defendant, Mary M. Wester, as Trustee of the Mary M. Wester Revocable

Trust (the “Wester Trust”), is a citizen and resident of Davidson County, Tennessee.

       14.    On information and belief, Bill Gulas, aka William J. Gulas, was a member

of and was the Owner and Operator of IRA Innovations, LLC and was a citizen and

resident of the State of Alabama. Upon information and belief, Mr. Gulas died since the

filing of this action and Defendant Alycia White is the Executrix of the Estate of William

J. Gulas.

       15.    On information and belief, Defendant Mike Todd is an officer or manager

of IRA Innovations, LLC and is a citizen and resident of Davidson County, Tennessee.

       16.    This Court has personal jurisdiction over all Defendants.

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      17.     This action arises from contracts that were substantially performed in

Davidson County, Tennessee. All of the contracts listed herein involve property located

in Davidson County, Tennessee and Deeds of Trust recorded in with the Davidson

County Register of Deeds. Several Defendants reside in Davidson County, Tennessee.



                        II. CLASS ACTION ALLEGATIONS

      18.     This action is brought by plaintiffs on behalf of themselves and all other

persons similarly situated whose joinder in this action is impracticable because there are

more than 100 potential members of the class.

      19.     There are questions of law and fact common to the class. All members of

the putative class are borrowers from Defendants Mary M. Wester, individually, or as

Trustee of the Mary M. Wester Trust, IRA Innovations, LLC, Knox Valley Partners,

LLC, or Morris Family Holdings, LLC. All of the borrowers, including members of the

class, have been charged interest that is usurious under Tennessee law. Defendants Trey

Cain, Cain & Associates, LLC, and Tennessee Title & Escrow Affiliates, LLC are

involved in every transaction listed herein with the Plaintiffs and many other transactions

with members of the putative class. Of the transactions enumerated herein, Mr. Cain

drafted each of the usurious promissory notes, and on information and belief, received

payment of some of the usurious interest for each of the transactions. There are in excess

of 100 deeds of trust in favor of Ms. Wester and/or the Wester Trust recorded in

Davidson County alone where Mr. Cain is/was the trustee. Similarly, IRA Innovations

has more than 30 such deeds of trust. Simply put, the Defendants are in the business of

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making usurious loans and have conspired with each other to violate the laws against

charging excessive interest and to violate the Racketeer Influenced and Corrupt

Organizations Act with respect to each member of the class.

       20.      The claims of the representative party(ies) are typical of the claims of the

class in that they seek damages for violations of the usury laws, RICO, civil conspiracy,

and breach of contract by Defendants.

       21.      The representative party(ies) will fairly and adequately protect the interests

of the class.

       22.      The Defendants have acted on grounds generally applicable to the class,

thereby making appropriate final injunctive and declaratory relief with respect to the class

as a whole.



                                         III. FACTS

       23.      Seanache was in the business of real estate development.            Seanache

primarily funded its development projects through loans.

       24.      In or about 2014, Richard Potts, the President of Seanache, met Defendant

Trey Cain, when Mr. Cain, through his title company, Tennessee Title, conducted a

closing involving Seanache.

       25.      Subsequently, Mr. Cain offered to perform a number of things for

Seanache.       First, Mr. Cain offered to find investors to loan Seanache money for

development and construction projects. Second, Mr. Cain offered to legally represent

Mr. Potts and Seanache, and did so personally and through his law firm, Cain &

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Associates.    This legal representation would include drafting and reviewing loan

documents, deeds, covenants and restrictions for property owned by Seanache, and

similar documents related to Seanache’s development and construction projects. Finally,

Mr. Cain offered that Tennessee Title would close the loans and real estate purchases

involved in these transactions. Cain & Associates would make money by charging for

drafting loan and purchase documents for each transaction, and Tennessee Title would

make money by being paid a portion of the title insurance premiums as the title agent and

other closing costs.

       26.    Seanache agreed to these terms, and in early 2015 Mr. Cain brought

Seanache its first lender, Mainsale, LLC (“Mainsale”). On March 31, 2015, Mainsale

loaned Seanache $141,000 to purchase improved real property located at 616 Durrett

Avenue, in Nashville (the “Durrett Property”), and to rehabilitate the house on this

property. Mr. Cain drafted all of the loan documents, including a promissory note, a

copy of which is attached as Exhibit 1 (the “Durrett Note”), for Seanache.

       27.    Seanache believed that Mr. Cain and Cain & Associates were acting in

Seanache’s best interest in drafting the loan documents and closing the purchase of the

Durrett property. Seanache has subsequently learned that this is not the case. For

example, the Durrett Note contains an interest rate that, in its face, is usurious under

Tennessee law. The maximum lawful interest rate for a non-financial institution such as

Mainsale at the time the promissory note was drafted was 7.25% per annum. The Durrett

Note, which has a 180-day term, calls for interest to be paid at 12% per annum, and

requires that all amounts due under the Note be paid by the end of the term.

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       28.      The Durrett Note also charges a 3% “transaction funding fee.” This so-

called “fee,” in fact, is further consideration for the loaning of money over a period of

time and is thus merely additional and illegal interest. The additional 3% interest is not

3% per annum, but rather is a flat 3% of the principal. Since the Durrett Note has a 180

day term, the 3% additional interest is actually 6% per annum on the face of the note, and

the actual rate of interest on the face of the Note is 18% per annum. This interest rate is

well more than two times the maximum lawful interest rate at the time of the Durrett

Note, which was 7.5%.

       29.      Seanache was able to rehabilitate and sell the Durrett Property in less than

seven months, and on October 8, 2015 sold the Durrett Property for $249,942. Under the

terms of the Durrett Note, the entire principal balance and all accumulated interest

(including the 3% “transaction funding fee”) were to be paid at the closing for the sale of

the property.     Thus, at the closing on October 8, 2015, Seanache paid Mainsale

$155,764.12. Of this amount, $14,764.12 constitutes interest. This reflects an effective

interest rate of 20.01%, which is more than two (2) times the maximum legal rate. A

copy of the settlement statement for the Durrett Property is attached as Exhibit 2. On the

settlement statement, as on each of the settlement statements for the loans that are the

subject of this Complaint, the 3% “transaction funding fee” is not set forth as an

“expense” or a separate charge. Rather, the 3% “transaction funding fee” was simply

included with the rest of the interest and principal that was paid to Mainsale.

       30.      Seanache paid Cain & Associates a $250 fee and Tennessee Title received

$908.50 as its portion of the title insurance premium upon the closing of the Durrett

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property purchase by Seanache. Seanache also paid Tennessee Title a closing fee of

$250 upon the sale of the Durrett Property.

      31.     After the Durett Property purchase, Mr. Cain brought several other lenders

to Seanache. Mr. Cain drafted promissory notes for each of these lenders, all of which,

with the exception of one, contained interest rates of 12% per annum, plus a 3%

“transaction funding fee,” and had 180 day terms. This Complaint seeks relief related to

twenty-two of these loans. All but one of these notes had, on their faces, interest rates

that were at least twice as high as the maximum lawful rate.

      32.     In most of these transactions, multiple persons combined as lenders, and

Mr. Cain drafted a “Series Promissory Note” for each Defendant. In each of these

transactions, each of the Series Promissory Notes was secured by a single Deed of Trust,

drafted by Mr. Cain, for which Mr. Cain, who was Seanache’s lawyer, acted as the trustee

for all of the lenders. In each of these series promissory notes, Mr. Cain gave the group

of lenders a name, always related to the address of the property serving as collateral for

the loans. For example, for the loan that was collateralized by the property located at 919

South 12th Street, the group of four lenders was named the “919 S 12th Street Project

Series Lenders.” All of the series promissory notes had the following provision, with

only the name of the Series Lenders and the amount of the loan changing:

      Additional Notes Secured. This Note is one of a series of promissory
      notes executed by the Borrower in the total amount of $200,000.00 (the
      "802 South 12th Street Project Series"). The Series is secured by the Deed
      of Trust ("Deed of Trust") collectively and any default by Borrower under
      any note in the Series shall be considered a default under all the notes in the
      Series. Lender shall be referred to as the "919 S 12 Street Project

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       Series Lenders" which consists solely of Diane Tito Griffin, Susan
       Oetzel, Carol Smith, and Mainsale LLC a Tennessee limited liability
       company in the Deed of Trust. All funds paid by Borrower whether as
       principal, interest or expenses, or funds collected by virtue of any collection
       effort by any Holder of a Series Note, including foreclosure of the Deed of
       Trust, shall be paid proportionately to all Holders of Series Notes so that
       the Series Notes shall be treated as one note.


       33.    All of the Deeds of Trust identified the “Series Lender” as the beneficiary.

For example, the Deed of Trust for the loan collateralized by the property located at 919

South 12 Street stated as follows:

       THIS INSTRUMENT is executed as of this 25th day of May, 2016 by
       Seanache Homes, Inc., a Nevada Corporation ("Grantor"), evidencing
       Grantor's conveyance to Trey Cain (c/o Cain & Associates, PLLC),
       Trustee ("Trustee"), a resident of Williamson County, State or Tennessee
       whose business address is 7105 Crossroads Blvd., Suite 101, Brentwood,
       Tennessee 1,7027, for the benefit of The "919 S 12th Street Project
       Series" which consists solely of the following: Diane Tito Griffin, Susan
       Oetzel, Carol Smith, and Mainsale, LLC a Tennessee limited liability
       company ("Beneficiary").


       34.    Additionally, the Deeds of Trust for the “series promissory notes” all

contained the following provisions, with only the name of the Series Lender changing:

       1.     Taxes and Assessments; Annual Reports. Grantor shall pay when
       due all taxes and assessments now existing or hereafter levied or assessed
       upon the Property. Grantor shall, without demand, provide Beneficiary
       and/or Trustee with evidence of the payment of all such taxes and
       assessments accrued over each year by March 31 of the following year by
       mailing the evidence of payment to the following address: The 802 South
       12th Street Project Series Lenders, c/o Cain & Associates, PLLC, Attn:
       Trey Cain, 7105 Crossroads Blvd., Suite 101, Brentwood, TN 37027.


       2.    Insurance. Grantor shall keep the Property insured for the benefit of
       Beneficiary against "all risks of physical loss" ( except earthquake, unless
       Beneficiary specifically so requires, and also including flood insurance, if
                                             9

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         applicable) under a casualty insurance policy . . .All such casualty policies
         shall name Beneficiary as insured mortgagee pursuant to a non-contribution
         mortgagee clause with the following loss/payee language:
         The 802 South 12th Street Project Series Lenders
         C/O Cain & Associates, PLLC
         Attn: Trey Cain
         7105 Crossroads Blvd., Suite 101
         Brentwood, TN 37027

         35.       In the Seanache loans, the Defendants making loans joined together as

“Series Lenders” in multiple different combinations, with as few as two and as many as

seven Defendants combining in any one loan.

         36.       The Notes that Plaintiffs currently have access to are attached as exhibits to

this Complaint. The “Series Notes” are joined together as collective exhibits by series.

The following is a chart of the loans, containing the property that served as collateral and

the names of the lenders for each loan. The chart also identifies whether the loan was a

“series loan,” the name of the “series lenders,” if any, and the exhibit number for the

notes:

                                                    Series
     37.Property             Lenders                Notes    Series Name                                Exhibit
 1     641 Gibson Dr.        Mainsale                  No    None                                            3
 2     615 Durrett Ave.      Mainsale                  No    None                                            1
 3     201 Donna Dr          Mainsale                  No    None                                            4

 4     802 South 12th St     Mainsale                 Yes    802 South 12th St Project Series Lenders        5
                             Knox Valley Partners
                             Morris Family
                             Holdings
 5     1136 Pierce Rd        Mainsale                 Yes    1136 Pierce Rd Project Series Lenders           6
                             Steve Brakman
 6     1917 Moran Ave        Mainsale                 Yes    1917 Moran Ave Project Series Lenders           7
                             Steve Brakman
                             Craig Dowling
 7     2402 Carter St        Mainsale                 Yes    2402 Carter St Project Series Lenders           8

                                                    10

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                           Craig Dowling
                           Steve Brakman
 8   2410 Porter Rd        Wester Trust              No    None                                       9
 9   2414 Pafford Dr       Mainsale                  Yes   2414 Pafford Dr Project Series Lenders    10
                           Steve Brakman
                           Craig Dowling
10   919 S 12th St         Diane Griffin             Yes   919 S 12th St Project Series Lenders      11
                           Carol Smith
                           Susan Oetzel
                           Mainsale
11   853 Rose Park Dr      Steve Brakman             Yes   853 Rose Park Dr Project Series Lenders   12
                           Scott Patchett
                           Carol Smith
                           Mainsale
12   835 Rose Park Dr      IRA Inn.                  Yes   835 Rose Park Dr Project Series Lenders   13
                           IRA Inn. (Je. Larson)
                           IRA Inn. (Ju. Larson)
13   1110 Stainback        Diane Griffin             Yes   1110 Stainback Project Series Lenders     14
                           Steve Brakman
                           Scott Patchett
                           Morris Fam. Holdings
                                                           2114 Sharondale Ave Project Series
14   2114 Sharondale Ave   Steve Brakman             Yes   Lenders                                   15
                           Mainsale
                           Diane Tito
15   4306 Westlawn         Mainsale                  Yes   4306 Westlawn Project Series Lenders      16
                           Steve Brakman
                           Craig Dowling
                           David Kovach
                                                           2803 Meadow Rose Project Series
16   2803 Meadow Rose      James Goll                Yes   Lenders                                   17
                           IRA Inn. (Ju. Larson)
                           Larson Family Trust
                           IRA Inn. (J. McDonald)
17   1215 Linden Ave       Mainsale                  Yes   1215 Linden Ave Project Series Lenders    na
                           Steve Brakman
                           Craig Dowling
18   409 Ther. Ave         Mainsale                  Yes   409 Ther. Ave Project Series Lenders      18
                           Craig Dowling
                           Steve Brakeman
                           M. Wester/W. Trust
19   411 Ther. Ave         Jerry and Judy Larson     Yes   411 Ther. Ave Project Series Lenders      19
                           Parker Place
                           Jerry Larson


                                                    11

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                            Scott Patchett
                            Mainsale
                            IRA Inn. (P. Moss)
                            Mainsale
20   Shor. Agmt 901 12th    Mainsale                 n/a                                       n/a
21   Shor. Agmt 409 Ther.   Mainsale                 No                                        20
                            Craig Dowling
                            Steve Brakman
22   Shor. Agmt 411 Ther.   Mainsale                 No                                        21
                            Scott Patchett
                            Jerry Larson
                            Parker Place Partners
                            IRA Inn. (P. Moss)




       38.     The Deeds of Trust for the “series lenders” are attached hereto as collective

Exhibit 22.

       39.     The Defendants who made usurious loans to Seanache are referred to herein

as the “Lender Defendants.” They are Knox Valley Partners, Morris Family Holdings,

Wester Trust, IRA Innovations, and Patrick Moss.

       40.     Although Seanache believed that Cain, Cain & Associates and Tennessee

Title represented Seanache as counsel, on information and belief Cain, Cain & Associates

and Tennessee Title deceived Seanache and actually represented the adverse interests of

the Lender Defendants and shared in the profits from the transactions. On information

and belief, the lenders to Seanache paid Mr. Cain some of the usurious interest that they

collected from Seanache. These payments, however, do not show up on the settlement

statements.

       41.     On information and belief, Knox Valley Partners and Morris Family

Holdings are both owned and/or controlled, in whole or in part, by Mr. Cain and his wife,
                                                    12

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Kali Cain.    Both Knox Valley Partners and Morris Family Holdings charged and

collected usurious interest at more than twice the lawful rate from Seanache –the client of

Mr. Cain, Cain & Associates and Tennessee Title – based on promissory notes drafted by

Mr. Cain. The usurious interest for the benefit of Mr. Cain’s entities was collected by

Mr. Cain from his client Seanache in closings conducted by Mr. Cain as Seanache’s

closing agent.

       42.    On October 14, 2015, the Wester Trust loaned Seanache $183,180.93 to

purchase real property located at 2410 Porter Road (the “Porter Road Property”). The

promissory note for this loan, which was drafted by Mr. Cain, called for interest at a rate

of 15% per annum, plus a 3% “transaction funding fee” to be paid at the closing when

Seanache sold the Porter Road Property.         The note had a 120 day term. Thus, the

effective interest rate for the note on its face was 21%.

       43.    Seanache rehabilitated the Porter Road property and sold it for $315,000.00

on May 13, 2016. Mr. Cain handled the closing for Seanache. At the closing on May 13,

2016, Seanache paid the “First Mortgage Loan” lender, which Seanache assumes was the

Wester Trust, $23,311.59 in interest, which equates to interest at the rate of 23.62% per

annum. This is not only several points higher than called for in the promissory note, but

also is more than three (3) times the maximum legal interest rate for this transaction,

which was 7.25% on the date that the Porter Road promissory note was executed and

7.5% when the illegal debt was paid.

       44.    Furthermore, Mr. Cain arranged at the closing of the Porter Road Property

for payments to be made to IRA Innovations and Morris Family Holdings, in the amounts

                                             13

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of $30,106.07 and $30,115.11, respectively.      On the settlement statement, which is

attached as Exhibit 23, these payments are reflected as “HELOC” payments. Seanache

has never had any home equity line of credit with either IRA Innovations or Morris

Family Holdings and did not borrow money from either of these entities in the Porter

Road Property transaction. Seanache does not know of any legitimate reason that either

IRA Innovations or Morris Family Holdings should have been paid any money from this

closing and does not recall seeing these payments on the settlement statement at the time

of the closing. Although the settlement statement contains Mr. Potts’ signature, his

signature is on a separate page from the rest of the document. Seanache did not discover

that the payments to IRA Innovations or Morris Family Holdings were made until July

2019. It is unknown at this time as to what Mr. Cain did with this money that he illegally

took from Seanache.

      45.      The Durrett Property and Porter Road Property transactions are just two

examples of many transactions that were the result of Defendants’ conspiracy. Mr. Cain

has not provided Seanache with all of the loan documents. Furthermore, in some of the

transactions, multiple lenders were paid with one payment, so it is not possible for

Seanache to tell how much each specific lender received. The following are transactions

in which Mr. Cain and the Lender Defendants conspired to collect usurious/illegal

interest and excessive loan charges from Seanache, based on the incomplete information

currently in Seanache’s possession:



    Property        Date        Lender                Principal   Interest   Int   Max

                                           14

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                        Interest Paid                                                      Rate    Rate
 1   641 Gibson Dr.       8/11/2015     Mainsale                110000.00       5829.54    28.87   7.25
 2   615 Durrett Ave.     10/8/2015     Mainsale                141000.00      14764.12    20.01   7.25
 3   201 Donna Dr        12/11/2015     Mainsale                135455.44       7711.84    16.89   7.25
     802 South 12th
 4   St                  10/31/2016     Mainsale                 $200,000    $105,626.52   55.08   7.25
                         10/31/2016     Knox Valley Partners      $50,000     $16,909.03   35.27   7.25
                                        Morris Family
                         10/31/2016     Holdings                $67,504.67    $67,504.67   104.3   7.25
 5   1136 Pierce Rd       7/20/2016     Mainsale                 76500.00       5823.00    18.28    7.5
                          7/20/2016     Steve Brakman            76500.00       5864.43    18.41    7.5
 6   1917 Moran Ave       5/31/2016     Mainsale                 78333.34       5997.32    19.27    7.5
                          5/31/2016     Steve Brakman            78333.33       5997.31    19.27    7.5
                          5/31/2016     Craig Dowling            78333.33       5997.31    19.27    7.5
 7   2402 Carter St       5/18/2016     Mainsale                 76333.34       5666.65    21.17    7.5
                          5/18/2016     Craig Dowling            76333.33       5680.99    21.22    7.5
                          5/18/2016     Steve Brakman            76333.33       5685.99    21.24    7.5
 8   2410 Porter Rd       5/13/2016     Wester Trust            183180.93      23321.49    21.92   7.25
 9   2414 Pafford Dr      9/08/2016     Mainsale                 91000.00        363.33     0.51   7.25
                           9/8/2016     Steve Brakman            91000.00      11034.21    15.64   7.25
                           9/8/2016     Craig Dowling            91000.00      11027.46    15.63   7.25
10   919 S 12th St        6/04/2018     Diane Griffin           103464.95      37615.48    17.93    7.5
                          6/04/2018     Carol Smith              92511.68      unknown     ≥15%     7.5
                          6/04/2018     Susan Oetzel            102511.68      20820.42    10.02    7.5
                          6/04/2018     Mainsale                112511.69      67780.47    29.71    7.5
     853 Rose Park
11   Dr                    7/7/2017     Steve Brakman           100000.00      16599.98    15.07    7.5
                           7/7/2017     Scott Patchett          100000.00      17391.16    15.79    7.5
                           7/7/2017     Carol Smith              50000.00       8366.68    15.19    7.5
                           7/7/2017     Mainsale                 25000.00       4149.98    15.07    7.5
     835 Rose Park
12   Dr                   9/14/2017     IRA Inn.                 75000.00      13150.00    14.75    7.5
                          9/14/2017     IRA Inn. (Je. Larson)   119000.00      20864.67    14.75    7.5
                          9/14/2017     IRA Inn. (Ju. Larson)    86000.00      15078.67    14.75    7.5
13   1110 Stainback       9/26/2017     Diane Griffin            69750.00      14136.00    17.70    7.5
                          9/26/2017     Steve Brakman            69750.00      14136.00    17.70    7.5
                          9/26/2017     Scott Patchett           69750.00      14136.00    17.70    7.5
                          9/26/2017     Morris Fam. Holdings     69750.00      12213.50    15.29    7.5
     2114 Sharondale
14   Ave                  7/28/2017     Steve Brakman           305750.00      95,439.59   21.87    7.5
                          7/28/2017     Mainsale                398250.00     188,948.98   64.49    7.5
                          7/28/2017     Diane Tito              250000.00      unknown              7.5
15   4306 Westlawn        3/24/2017     Mainsale                 98333.33      10882.56    15.90    7.5
                          3/24/2017     Steve Brakman            98333.33      10987.89    16.06    7.5
                          3/24/2017     Craig Dowling            98333.33      11023.37    16.11    7.5


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                        3/24/2017   David Kovach              75000.00    8650.00   16.57    7.5
     2803 Meadow
16   Rose               9/26/2017   James Goll                25000.00    3799.99   15.33    7.5
                        9/26/2017   IRA Inn. (Ju. Larson)     75000.00   11400.00   15.33    7.5
                        9/26/2017   Larson Family Trust      187000.00   28423.99   15.33    7.5
                        9/26/2017   IRA Inn. (J. McDonald)    25000.00    3799.99   15.33    7.5
17   1215 Linden Ave     9/7/2018   Mainsale                 250000.00   49077.12   18.19   8.25
                         9/7/2018   Steve Brakman            250000.00   49094.41   18.19   8.25
                         9/7/2018   Craig Dowling            250000.00   48904.88   18.12   8.25
18   409 Ther. Ave      5/11/2018   Mainsale                 266477.17   unknown     >15    7.5
                        5/11/2018   Craig Dowling            266477.17   unknown     >15    7.5
                        5/11/2018   Steve Brakeman           266477.17   unknown     >15    7.5
                         unknown    M. Wester/W. Trust       100000.00   unknown     >15    unk
19   411 Ther. Ave     04/11/2019   Jerry and Judy Larson    123500.00   unknown     >15     7.5
                       04/11/2019   Parker Place              98000.00   unknown     >15     7.5
                       04/11/2019   Jerry Larson              64000.00   unknown     >15     7.5
                       04/11/2019   Scott Patchett           222500.00   unknown     >15     7.5
                       04/11/2019   Mainsale                 300000.00   unknown     >15     7.5
                       04/11/2019   IRA Inn. (P. Moss)        92000.00   unknown     >15     7.5
                         unknown    Mainsale (River Edge)    123500.00   unknown     >15     6.3
     Shor. Agmt 901
20   12th               5/31/2018   Mainsale                  60140.20     unpaid    >15    8.75
     Shor. Agmt 409
21   Ther.              3/18/2019   Mainsale                  54107.32     unpaid    >15     9.5
                        3/18/2019   Craig Dowling             54107.32     unpaid    >15     9.5
                        3/18/2019   Steve Brakman             54107.32     unpaid    >15     9.5
     Shor. Agmt 411
22   Ther.                 unpaid   Mainsale                 258032.75     unpaid    >12     9.5
                           unpaid   Scott Patchett           258032.75     unpaid    >12     9.5
                           unpaid   Jerry Larson             258032.75     unpaid    >12     9.5
                           unpaid   Parker Place Partners    258032.75     unpaid    >12     9.5
                           unpaid   IRA Inn. (P. Moss)       258032.75     unpaid    >12     9.5




       46.      As the chart above demonstrates, Seanache was charged and paid more than

twice the maximum legal rate in the overwhelming majority of the transactions for which

Plaintiff has complete information. The Wester Trust, for example, collected more than

21% interest on the Porter Road transaction, when the maximum lawful rate was only

7.25%.

                                                   16

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       47.    The Defendants were an association-in-fact enterprise, with the purpose of

profiting from the collection of unlawful debt from Seanache.          The leader of this

enterprise was Mr. Cain, who brought the Lender Defendants together, decided which

lenders would be involved in the loans, created the “series lenders,” drafted the

promissory notes, deeds of trust, and other documents, acted as trustee under the Deeds

of Trust, and closed both ends of the transactions. The Defendants had relationships

among and between themselves, as each of the Defendants who made a loan was a “series

lender” on at least one of the loans, in multiple combinations. The enterprise consisting

of all of the Defendants and others had sufficient longevity to accomplish the purpose of

collecting unlawful debt from Seanache, as it began in 2015 and continues to exist today.

       48.    In the alternative, each of the “series lenders,” along with Mr. Cain and his

entities, was an association-in-fact enterprise, which had the purpose of collecting

unlawful debt. The “series lenders” had relationships related to the collection of unlawful

debt, as reflected by the series promissory notes and deeds of trust, all created by Mr.

Cain. Each of these enterprises had sufficient longevity to accomplish its purpose of

collecting unlawful debt.

       49.    Additionally, or in the alternative, the Defendants that are limited liability

companies were association-in-fact enterprises, consisting of the entity and its members,

along with Mr. Cain and his entities. Further, the “series lenders” were partnerships or

joint ventures between the various Defendants that also constituted association-in-fact

enterprises along with Mr. Cain and his entities. Furthermore, upon information and

belief, Mr. Cain also received other monetary benefits from the transactions based upon a

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partnership or joint venture Mr. Cain had with the Defendants, which also constituted an

enterprise or enterprises between Mr. Cain and the other Defendants. The joint enterprise

between Mr. Cain and the other Defendants has existed since early 2015 and continues to

operate presently. Additionally, upon information and belief, the various entities and

individuals that are Defendants herein participated in these transactions as joint venturers

and such also constituted an enterprise or enterprises.

       50.    The persons or entities who acted as lenders in this enterprise or enterprises

either as entities, listed lenders on the loan documents or owners/members, managers, or

directors of the entities listed on the loan documents are Knox Valley Partners, Morris

Family Holdings, Kali Cain, Mainsale, IRA Innovations, Steven Brakman, Craig

Dowling, Scott Patchett, Carol Smith, Diane Tito Griffin, Susan Oetzel, David Kovach,

Jerry Larson, Judy Larson (individually and as Trustee of the Larson Family Trust), Jane

McDonald, Parker Place, Mary Wester (individually and as Trustee of the Wester Trust),

Patrick Moss, Daniel Tito, Bill Gulas, and Mike Todd. Knox Valley Partners, Morris

Family Holdings, Wester Trust, IRA Innovations, and Patrick Moss referred to herein as

the “Lender Defendants.”

       51.    The activities related to Defendants’ enterprises affected interstate

commerce. Plaintiff is a Nevada corporation. Morris Family Holdings is a Wyoming

limited liability company. IRA Innovations is an Alabama limited liability company, and

the promissory notes for which it is the lender directs payments to be made in Alabama.

Mr. Gulas was a resident of Alabama. Susan Oester is a resident of Ohio, and payments

under the promissory notes for which she is a Lender are directed to be made in Ohio.

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Carol Smith is a resident of Florida, and any notes for which she was a Lender required

payments to be made in the State of Florida. Further, one of the primary purposes of the

usurious loans was the funding of construction that utilized products and materials

produced and/or sold in numerous states, which further affected interstate commerce.

       52.    With a few exceptions the loans were paid off when Seanache sold the

improved property that served as collateral for the loans. In each of these statements, the

3% “transaction funding fee” is not set forth as a “loan charge” or a separate fee. Rather,

it is included in the loan payoff of principal and interest that is paid to the lender. The

closing statements currently available to the Plaintiffs’ possession are attached as

collective Exhibit 24.

       53.    Defendants not only knew that the Lender Defendants were charging and

collecting usurious interest but they also included specific language in the promissory

notes that attempted to avoid legal liability for such illegal interest. As already stated,

characterizing the flat 3% additional interest to be paid on each Note was a deceit

designed to give the appearance that the interest was less than what was actually provided

for by the note. Further, Mr. Cain, as a lawyer specializing in real estate transactions,

was well aware of the Tennessee usury laws.         Not only did Seanache execute the

promissory notes as maker/borrower, but Defendants also executed many of the

promissory notes drafted by Mr. Cain, all of which contained the following, or a

substantially similar, provision:

       All agreements made by Borrower relating directly or indirectly to the
       indebtedness


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      evidenced by this Note and the Deed of Trust arc expressly limited so that in no
      event or contingency whatsoever shall the amount of interest received, charged or
      contracted for by Lender exceed the highest lawful amount of interest permissible
      under the laws of the State of Tennessee or any federal statute or regulation
      applicable to Lender. If. under any circumstances whatsoever, performance of any
      provision of this Note or the Deed of Trust. at the time performance of such
      provision shall be due shall result in the highest lawful rate of interest permissible
      under such laws being exceeded, then ipso facto, the amount of interest received,
      charged or contracted for by Lender shall be reduced to the highest lawful amount
      of interest permissible under such laws, and if for any reason whatsoever, Lender
      shall ever receive. charge or contract for, as interest, an amount which would be
      deemed unlawful, such amount of interest deemed unlawful shall be refunded to
      Borrower (if theretofore paid). Without limitation of the foregoing, any amounts
      contracted for, charged or received under the Deed of Trust relating directly or
      indirectly to the indebtedness evidenced by this Note, included for the purpose of
      determining whether the interest rate would exceed the highest lawful rate, shall
      be calculated. to the extent permitted by the laws of the State of Tennessee or any
      applicable federal statute or regulations. by amortizing. prorating, allocating and
      spreading such interest over the period of the full stated term of this Note.

      54.    Most, if not all, of the promissory notes also provide that in the event of

default by Seanache, the unpaid amount “shall bear interest at the highest rate allowed by

law,” which is a further indication that Defendants were aware of the usury laws.

      55.    All of the notes described in the chart above were usurious on their face and

are thus unenforceable by the Lender Defendants pursuant to Tenn. Code Ann. § 47-14-

117(a).

      56.    Defendants are in the business of making usurious loans. For example,

there are in excess of 100 deeds of trust in favor of Ms. Wester and/or the Wester Trust

recorded in Davidson County alone where Mr. Cain is/was the trustee, and on

information and belief, most, if not all of these loans are usurious. Similarly, IRA

Innovations has more than 30 such deeds of trust in Davidson County.



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       57.    In addition to conspiring with each other, the Defendants conspired with

many other persons to violate the usury laws. For example, the Wester Trust conspired

with several other lenders to violate the usury laws in transactions where Wester Trust

was one of the “Series Lenders.” Similarly, Kali Cain, as a principal of Knox Valley

Partners and/or Morris Family Holdings, conspired with others to violate the usury laws

where these entities were “Series Lenders,” and Mr. Gulas and Mr. Todd conspired with

Lender Defendants in transactions in which IRA Innovations was a “Series Lender.”



                                 CAUSES OF ACTION
                                      COUNT ONE

                    USURY AND EXCESSIVE LOAN CHARGES

       58.    Plaintiffs hereby incorporate all preceding allegations.

       59.    The Lender Defendants have charged and collected usurious interest from

Seanache. Pursuant to Tenn. Code Ann. § 47-14-114, Sake, as assignee of Seanache is

entitled to recovery of all interest paid in excess of authorized interest and loan charges.

Alternatively, if the assignment of such claims to Sake is not effective, Seanache is

entitled to recovery and any such recovery is the property of Sake subject to the terms of

the assignment between Seanache and Sake.

       60.    The Lender Defendants have engaged in unconscionable conduct in

transactions wherein they charged and collected usurious interest. As a non-exclusive

example of unconscionable conduct, the Lender Defendants knew that they were

charging interest in violation of Tennessee law. Further, the overwhelming majority of

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the interest rates were more than twice the maximum lawful rate, and some were more

than three times the lawful rate. Pursuant to Tenn. Code Ann. § 47-14-117, Plaintiffs are

entitled to recover twice the amount of any interest collected by the Lender Defendants,

plus reasonable attorneys’ fees.



                                      COUNT TWO

                                          RICO

       61.    Plaintiffs hereby incorporate all preceding allegations.

       62.    Defendants have been and continue to be engaged in conduct of an

enterprise or multiple enterprises to collect unlawful debt, in violation of 18 U.S.C. §

1962(c).

       63.    Defendants had and continue to have the common purpose of exploiting

Plaintiffs by charging and collecting unlawful debt as defined by 18 U.S.C. § 1961.

       64.    Defendants have relationships with each other as alleged above. These

relationships have sufficient longevity to permit pursuit of the enterprise’s purpose of

collecting unlawful debt.

       65.    The activities related to Defendants’ enterprise affected interstate

commerce.

       66.    Defendants had an agreement to participate in activities that, if completed,

would constitute a violation of 18 U.S.C. § 1962(c)

       67.    Seanache suffered monetary loss as a result of Defendants’ violation of 18

U.S.C. § 1962.

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       68.    Pursuant to 18 U.S.C. § 1964(c), Sake, as assignee of Seanache, is entitled

to treble damages and all costs of this litigation, including reasonable attorneys’ fees.

Alternatively, if the assignment of such claims to Sake is not effective, Seanache is

entitled to recovery and any such recovery is the property of Sake subject to the terms of

the assignment between Seanache and Sake.

       69.    Upon information and belief, the Defendants are continuing to engage in

the unlawful acts complained of herein with parties other than the Plaintiffs.

       70.     Pursuant to 18 U.S.C. § 1964(a), this Court should enter an order

prohibiting Defendants from engaging in future charging or collection of unlawful debt,

whether from Plaintiffs or other third parties.

                                     COUNT THREE

                                  CIVIL CONSPIRACY

       71.    Plaintiffs hereby incorporates all preceding allegations.

       72.    Defendants had a common design, each having the intent and the

knowledge of the other’s intent, to accomplish by concerted action the unlawful purpose

of collecting usurious interest and excessive loan charges.

       73.    Mr. Cain and the Lender Defendants engaged in multiple over acts in

furtherance of this common design.

       74.    Seanache suffered monetary damages as a result of the conspiracy.

       75.    The actions of Mr. Cain, individually and through Cain & Associates and

Tennessee Title, and the Lender Defendants were intentional, thereby entitling Sake, as

assignee of Seanache, to punitive damages. Alternatively, if the assignment of such

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claims to Sake is not effective, Seanache is entitled to recovery and any such recovery is

the property of Sake subject to the terms of the assignment between Seanache and Sake.

       76.    The Lender Defendants are jointly and severally liable, along with Mr.

Cain, Cain & Associates, and Tennessee Title, for all damages suffered by Seanache as a

result of the conspiracy.



                                     COUNT FOUR

                                 RICO CONSPIRACY

       77.    Plaintiffs hereby incorporate all preceding allegations.

       78.    Defendants have engaged in a conspiracy to violate 18 U.S.C. § 1962(c), as

set forth in Count Two.

       79.    Seanache suffered monetary loss as a result of Defendants’ conspiracy.

       80.    Pursuant to 18 U.S.C. § 1964(c), Sake, as assignee of Seanache, is entitled

to treble damages and all costs of this litigation, including reasonable attorneys’ fees.

Alternatively, if the assignment of such claims to Sake is not effective, Seanache is

entitled to recovery and any such recovery is the property of Sake subject to the terms of

the assignment between Seanache and Sake.

       81.    The Defendants are jointly and severally liable for all damages suffered by

Seanache as a result of the conspiracy.



                                      COUNT FIVE

                              BREACH OF CONTRACT

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       82.    Plaintiffs hereby incorporate all preceding allegations.

       83.    Each of the Promissory Notes provides that any unlawfully excessive

interest shall be repaid to Seanache.

       84.    The Lender Defendants have breached the promissory notes by failing to

pay any of the unlawfully excessive interest to Seanache or its assignee, Sake.

       85.    Plaintiffs have suffered monetary loss as a result of these breaches.

       86.    Sake, as assignee of Seanache, is entitled to damages and all costs of this

litigation, including reasonable attorneys’ fees, for such breaches. Alternatively, if the

assignment of such claims to Sake is not effective, Seanache is entitled to recovery and

any such recovery is the property of Sake subject to the terms of the assignment between

Seanache and Sake.




                                        COUNT SIX

                           BREACH OF FIDUCIARY DUTY

       87.    Plaintiffs hereby incorporate all preceding allegations.

       88.    Mr. Cain owed a fiduciary duty to Seanache.

       89.    Mr. Cain breached this fiduciary duty by engaging in the conduct described

in this Complaint, which conduct has caused Seanache damages. As a non-exclusive

example, Mr. Cain caused Seanache to pay Morris Family Holdings and IRA Innovations

more than $60,000 that Seanache did not owe to these entities.



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      90.    Sake, as assignee of Seanache, is entitled to damages and all costs of this

litigation, including reasonable attorneys’ fees for such breaches. Alternatively, if the

assignment of such claims to Sake is not effective, Seanache is entitled to recovery and

any such recovery is the property of Sake subject to the terms of the assignment between

Seanache and Sake.




                                   COUNT SEVEN

                              UNJUST ENRICHMENT

      91.    Plaintiffs hereby incorporate all preceding allegations.

      92.    IRA Innovations and Morris Family Holdings have received and

recognized a benefit from Seanache. Specifically, IRA Innovations and Morris Family

Holdings received $30,106.07 and $30,115.11, respectively, at the closing for the sale of

the Porter Road Property.

      93.    The circumstances are such that Defendants should not be allowed to retain

the benefit bestowed upon them by Seanache.

      94.    Sake, as assignee of Seanache, is entitled to damages and all costs of this

litigation for such unjust enrichment. Alternatively, if the assignment of such claims to

Sake is not effective, Seanache is entitled to recovery and any such recovery is the

property of Sake subject to the terms of the assignment between Seanache and Sake.




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                                     COUNT EIGHT

                                     CLASS ACTION

         95.   This action has been brought by Plaintiffs on behalf of themselves and all

other persons similarly situated whose joinder in this action is impracticable because

there are more than 100 potential members of the class.

         96.   There are multiple questions of law and fact common to the class.

         97.   The claims of the representative party are typical of the claims of the class

in that they seek damages for violations of the usury laws, RICO and RICO civil

conspiracy, and breach of contract based on the standard loan documents authored by Mr.

Cain in furtherance of the Defendants’ conspiracy.

         98.   The representative party will fairly and adequately protect the interests of

the class.

         99.   The Defendants acted on grounds generally applicable to the class, thereby

making appropriate final injunctive and declaratory relief with respect to the class as a

whole.



                                IV. PRAYER FOR RELIEF

         Premises considered, Plaintiffs respectfully request the Court to grant them the

following relief:

         a.    Empanel a jury to hear the issues joined by the pleadings.

         b.    Enter an order pursuant to Fed. R. Civ. P. 23.03 that this action should be

maintained as a class action.

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       c.     Award Plaintiffs and the members of the class compensatory damages for

excessive interest in an amount to be determined at trial, but not less than $750,000.

       c.     Award Plaintiffs and the members of the class a judgment for double all

interest collected by the Lender Defendants and reasonable attorneys’ fees pursuant to

Tenn. Code Ann. § 47-14-117.

       d.     Award Plaintiffs and the members of the class compensatory damages for

breach of contract in an amount to be determined at trial, but not less than $750,000.

       e.     Enter a temporary and permanent injunction prohibiting the Lender

Defendants from charging or collecting any unlawful debt and prohibiting Mr. Cain from

engaging in any transaction as a lawyer in which unlawful debt is collected and/or

charged.

       g.     Award Plaintiffs and the members of the class punitive damages in an

amount to be determined at trial, but not less than $1,500,000.

       h.     Provide Plaintiffs with what further relief to which they may be entitled.

                                          Respectfully submitted:

                                          s/ J. Brad Scarbrough
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                            CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing document has been
served, via email and U. S. Mail, on the following counsel of record, this the 20th day of
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                                                 s/ J. Brad Scarbrough
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